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       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

KAREN HYLTON, Plaintiff,                              :
                                                       :
v.                                                     : Civil Action No. 1:21-cv-00554-
JMC
DISTRICT OF COLUMBIA, et al.,                          :
Defendants                                             :
                                                       :
The Estate of Karon Hylton, by                            :
PR, Amaala Jones Bey’s , PR                               :

        3rd Party Plaintiff’s MOTION TO DISQUALIFY , COUNSEL Charles Lewis Gerstein,
                         and his law firm, GERSTEIN HARROW LLP
       Comes now, 3rd Party Plaintiff, Z.J.B., by Amaala Jones-Bey, in her capacity as

the Personal Representative of the Estate of Karon Hylton, and moves to have Karen

Hylton’s counsel, Charles Lewis Gerstein, and his law firm GERSTEIN HARROW,

LLP, disqualified from ever representing Karen Hylton in anything having to do with

the instant case or facts related to the Estate of Karon Hylton. 3rd Party Plaintiff does

so based on the breach of the DC Bar Rules of Conduct, Rule 4.1, Truthfulness in

Statements to Others.

       Rule 4.1 provides, “A lawyer is prohibited from counseling or assisting a client

in conduct that the lawyer knows is criminal or fraudulent.” Mr. Gerstein is well

aware of the fact that his client, Karen Hylton, has asserted twice in her complaint that

she is the Personal Representative of the Estate of Karon Hylton.

       First Complaint



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        Second Complaint:




       The only basis for being able to file for damages in a DC Court on behalf of an Estate in

the District of Columbia is if the DC Superior Court Probate Division appoints that candidate to

be the Personal Representative in the Probate Division of the DC Superior Court by Letters of

Administration. It is presumptive that if Karen Hylton expressly asserts that she is the personal

representative of the Estate of Karon Hylton, she is doing so to be able to file her Complaint.

Even if a pro se Plaintiff wants to meet the rigors and requirements of being a Pro Se Plaintiff,

they will find out that they must be the Personal Representative of the Estate to do so.

       However, it is one thing to have a Pro Se Plaintiff making errant efforts to comply with

the rules of Court. It is absolutely clear that Karen Hylton’s counsel knew that she was not the

personal representative of the Estate as he said as much in a letter written to Plaintiff’s counsel.

In a conversation with Jones Bey’s Counsel, Mr. Gerstein asked 3rd party Jones Bey-counsel to

intercede in this instant action in order to cure the obvious defect that his client was not a

personal representative of the Estate of Karon Hylton. This is one of several emails from Mr.

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Gerstein conceding that Amaala Jones-Bey is the proper person to proceed as the personal

representative of the Estate of Karon Hylton:

“David,


Thanks for talking yesterday. We understand that we are not in agreement on Karen's
right to proceed as an intervenor, (as the personal representative of the Estate of Karon
Hylton, Mr. Shurtz added for explanation purposes) but we are all in agreement that as
of right now Amaala is the proper plaintiff and, accordingly, we should substitute her for
Karen. Attached is a very short motion doing that. Please let us know if we have your
authorization to ask the District whether it agrees and then file accordingly.

Thanks,
Charlie

Charlie Gerstein
Gerstein Harrow LLP
202-670-4809
Gerstein-Harrow.com”

       There was some discussion between Mr. Gerstein and Amaala’s counsel about the

efficacy of having 3rd party Plaintiff proceed as the Personal Representative of the Estate

of Karon Hylton. When Plaintiff found out later that Karen Hylton wanted to replace

Jones Bey and was going to challenge the efficacy and legitimacy of Jones-Bey being the

personal representative of the Estate of Karon Hylton, the 3rd Party Plaintiff; Jones-Bey,

withdrew any further consideration of substitution which would benefit the challenger,

Karen Hylton.

       This left the case with Karen Hylton still asserting that she was the personal

representative of the Estate of Karon Hylton. By failing to withdraw Karen Hylton’s

Complaints and knowingly continuing this fraud upon this court, wasting time and

resources, it is time to put these false and fraudulent claims to an end.

       The only possible person who can proceed to represent the Estate of Karon

Hylton is the very person appointed by the DC Superior Court’s, Probate Court, Amaala

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Jones Bey on behalf of her minor son, Z.B.J. Exhibit 1. Letters of Administration,

Karen Hylton and her counsel wants to use the legitimate claims of Z.J.B. only long

enough to challenge him. If she wants to make such a challenge, the USDC for DC is not

the right court to do that in.

       While 3rd Party Plaintiff has already prepared her Motion to Intervene and

Substitute, under Rule 24, the 3rd party Plaintiff is moving to Disqualify Charles

Gerstein and GERSTEIN & HARROW, LLP for perpetuating a fraud upon this court.

       3rd Party Plaintiff PR Jones-Bey does not question the zealous representation of

Karen Hylton on by GERSTEIN HARROW, LLP, and they have every right to

represent a distraught mother with great zeal as long as it is within the parameters of

the truth. It is not as if GERSTEIN HARROW, LLP have not been forewarned. The

District of Columbia continues to lead off in their list of facts challenging the position

of Karen Hylton in this suit by disclosing with Court issued documents that Amaala

Jones Bey has been appointed the Personal Representative of the Estate. It is a

foregone conclusion that if the Complaint has not been brought by the Personal

Representative, it must be dismissed. Yet, GERSTEIN HARROW, LLP, would have

the District labor under the knowing proof of fraud of the representation of Karen

Hylton’s being the Personal Representative and never withdrawing that place holder.

Plaintiff’s counsel has already warned GERSTEIN HARROW, LLP in 3rd party
Plaintiff’s counsel’s email letter of April 14th , 2022 to Charles Gerstein stating,
“I might add that, as I recall, Karen claimed to be the personal representative of the Estate of
Karon Hylton when she wasn't in the case when you are counsel. If I was counsel,, I would
feel very uncomfortable supporting statements that are not factually true before the Federal
Court, especially when they go to the gravamen of the case.. While your proposed intervening

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Motion clarifies to some degree that Amaala is the current PR, it does not specifically deny that
Karen is not the PR. And if she is not PR and you are arguing that Karen can file and proceed
with her complaint, your case is on very shaky ground.

       Since Jones-Bey refuses to save Karen’s complaint, Karen and her counsel

want to use the USDC for DC as a place-holder long enough to replace Amaala Jones

Bey as the PR with Karon Hylton. To allow a bogus Plaintiff to tie up the resources

of the court with false claims should result in sanctions. Since GERSTEIN

HARROW, LLP, and Mr. Gerstein, Esq., have continued supporting Karen Hylton’s

false accusations that she is the Personal Representative of the Estate when she is not,

especially when she had over a year to establish her position in the Probate Court,

Charles Gerstein and the law firm of GERSTEIN HARROW, LLP should be barred

from ever representing Ms. Karen Hylton in any factual matter related to the case of

the death of Karon Hylton and with damages for legal fees and time spent; as to date

they are accomplices to Karen Hylton’s fraudulent claims of being the Personal

Representative of the Estate.

I ask for this:



_________________________________________
David L. Shurtz, Esq.
Counsel for 3rd Party Plaintiff, Z.J.B.
1200 N. Nash Street, # 835
Arlington, VA 22209
(202) 617-9141
dshurtz103@gmail.com




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                                   CERTIFICATE OF SERVICE

       I, hereby certify that a copy of the foregoing has been distributed per the Court Pacer

Distribution System to all relevant parties.




                     _____________________________________________

                                       David L. Shurtz, Esq.




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